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27

participate in, quovce, “The Four Agreements,”

unquote, a component of the Stay Out of Prison

program. July y2t) +02, laudatory chrono, E.
Hobbs, H-O-B-B-S, floor officer, assigned as EOP
aid, commended for his assistance and diligence.
July 12, ’02,
“Mr. Mackey alerted staff that an ROP
inmate was down and required medical
assistance. As he was performing his
assignment, he heard a strange sound
coming from the lower section shower,
went to investigate. Upon arriving
at the shower, Mackey found the EOP
inmate lying on the shower floor,
covered in blood. He immediately
alerted staff to what was happening,
allowing us to respond promptly.
Mr. Mackey’s alertness and diligence
possibly saved the inmate’s life and
should be recognized.”
Pwo chronos related to the paralegal studies course
and authorization to receive books. A laudatory
chrono, N. Andrews, A-N-D-R-E-W-S, psych tech,
January 224° 104, assigned to EOP, commended for
assistance and extraordinary dedication to his
assignment and to the inmate participants in the

EOP program.
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“Personal attention Mr. Mackey gives

to individual inmates is far greater

than is expected in EOP. He

demonstrates a genuine desire to see

program succeed. Accomplishes

helping inmates in the program

improve their quality of life through

talking, listening, and generally

making himself available to these

mon. He has the ability to gain

trust of inmates who are new to the

program and are going through times

of adjustment, which takes a great

burden from staff, allowing us

greater freedom to do our jobs. His

hands-on approach is very effective

and should be a model. for other

inmates in this position.”
And this is part of your vocation, M. Sandoval,
S-A-N-D-O-V-A-L, vocational instructor, June 24°",
‘04, successfully demonstrated and completed all
Criteria pertaining to safe refrigerant handling
and recoveries mandated by EPA Section 608 of the
Clean Air Act of 1990. Inmate’s test scores
gGualify him for rating as universal certified
technician. And verification of your high school

diploma, L. Bernardo, B-E~R-N-A-R-D-O, August 3,%
Case 2:07-cv-00347-ALA Document 1,3, Filed 01/13/07 Page 3 of 50
1 of '04, East Union High School. Another chrono by
2 Protestant Chaplain Barham, 9/30/04, successfully

3 completed 40 Days of Purpose Bible study.

4 “Forty Days of Purpose is based on
3 . the best selling book A Purpose
6. Driven Life. The program is small
7 group, hands on, in-depth study.
8 Purpose one, your plan for God’s
9 pleasure, two, form God's family,
10 three, create and become jike Christ,
11 four, shape for serving God, five,
12 . you were made for a mission.
13 Mr. Mackey’s participation has been

é 14 very valuable to the other men.

15 (Inaudible) the five purposes for
16 life the God apply them to his life
17 and use them and encourage others.
18 Serious, well-grounded man of God.
19 His insights, pleasant attitude, and
20 renewed mind demonstrate a positive
21 change in his lifestyle. Tt brings
22 honor and glory to God.”
23 Another chrono from Pastor Barnham dated November.
24 15°. of '04, a 40-week course entitled The Purpose
25 Driven Life. And I note your. certification of
26 completion in heating, ventilation, air

27 conditioner, refrigeration, October 1, 2004. A
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1 certificate as technician for stratosphere ozone
2 completion certification. Don’t have a date on
3 that. Bet it looks like you have a paralegal

4 foundation course, July 23, ‘03, through 4/06/04.

5 And tnat’s dated June 9t of ’04. Is there an

6 expiration date on this stratosphere ozone

7 compleLion? Okay. So it’s just a universal

8 certification. It goes with the chrono I read.

9° INMATE MACKEY: Yes.

10 DEPUTY COMMISSIONER DININNTI: All right.

11 And several certificates for components leading up
12 to your completion in air condition. Is there

13 another trade that I missed?

14 INMATE MACKEY: No, there isn’t.

15 DEPUTY COMMISSIONER DININNI: Okay. Very
16 good. With that I’ll go to the progress report.

17 There's no information noted from the Board Report

18 for post-conviction for me to note. Counsel might
19 decide otherwise. The Board Report was prepared by
20 Christian, H., Christian, C-H-R-1-S-T-I-A-N. And
21 that was for 2004, December calendar. Progress

22 report, most recent one, remained in vocational air
23 condition and refrigeration assignment October 8,
24 2004, when he was unassigned due to completing a

25 program completed with all satisfactory marks, CDC
26 128 (e). Assigned program aide for enhanced

27 outpatient program facility-B, 10/16/04, received
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on

three laudatory chronos during the review period,
13-week study program Breaking the Cycle chrono
dated 12/01/04, 40-week course for preserving life.
We talked about successfully completed 40 days of
purpose. We talked about that chrono. And I’11
open for you to discuss any other asSignments you
want to point out, because I only went over the
recent ones. Okay. With that, I’m going to go to
the psych report that’s authored by K. M. Mahoney,
M-A-~H-O-N-E-Y, Ph.D., contract psychologist,
November 17°", 2004. In risk for violence,

“Mr. Mackey was a high functioning

individual in the community and has

continued to be a high functioning

inmate. He has no juvenile history,

no substance abuse history, and has

been an excellent programmer with

coc. Outwardly, he has both the

abilities and interpersonal skills

for a successful parole. In this

case, dynamics lie within the crime

scenario and to the extreme and

violent lengtns to which Mr. Mackey

was willing to go for personal gain

and recognition. On interview,

Mr. Mackey attempted to mitigate his

responsibility for his own actions by
Case 2:07-cv-00347-ALA Document 1-3 5 1Filed 01/13/07

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Mr.

factors, any gaps you’d like to fill, corrections

Mackey or Counsel,

shifting blame onto others as noted
in section three. In my opinion,
Mr. Mackey poses a moderate risk for
reoffense if released to the
community at this time. In
conclusion, James Oliver Mackey is a
40-year-old African-American inmate
convicted of Penal Code Section 187,

murder in the first degree for murder

for hire that occurred in 1989. No
juvenile history. No prior criminal
record. No substance abuse issues.

When in CDC he has been an excellent
programmer with only one 115 that was
for norseplay. CDC work evaluations
have ranged from satisfactory to
exceptional and most often being
placed at exceptional. Due to the
mature of the crime, Mr. Mackey’s
inability to take full responsibility
for it, it is my opinion Mr. Mackey
poses a mocerate degree of risk for
violence as a calculated preplanned
means to.an end if released to the

community at this time.”

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regarding post-conviction
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you'd like to make?

ATTORNEY MONTGOMERY: I was unclear as to
what the psychologist actually meant in that last
sentence. It didn’t make a great deal of sense to
me. The only other thing that IT would point out is
that under the Axis I and Axis II, No Diagnosis was
offered. And I’m going to address that more in my
closing, this report as well.

DEPUTY COMMISSIONER DININNI: All I can do
is restate it.

“Due to the nature of the crime, and

Mr. Mackey’s inability to take full
responsibility for it, it is my

opinion that Mr. Mackey poses a

moderate risk for violence as a

calculated preplanned means to an end

if released to the community at this

time.”

I can’t put what the person means by it. All I can
conclude is reiterating the risk fer violence,
because the statement 1s somewhat mitigated, and
she outlined section three, which is the crime.

And the crime was a calculated preplanned means to
an end. So all it says here is a moderate risk to

reoffend. And that’s without my adding anything to

what she stated.

ATTORNEY MONTGOMERY: Right.
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DEPUTY COMMISSIONER DININNI: I’m just
referring to her risk for violence. Looks like a
restatement to me. The Panel member could take it
in a different way. Anything further?

ATTORNEY MONTGOMERY: No. Thank you.

DEPUTY COMMISSIONER DININNI: With that I’1ll
return to the Chair.

PRESIDING COMMISSIONER WELCH: Okay. Thank
you. Okay. Mr. Mackey, let’s talk about your
parole plans. In case you receive a parole date,
tell the Panel where you’re planning to live.

INMATE MACKEY: In Manteca with my wife.

PRESIDING COMMISSIONER WELCH: Okay. And
how are you planning to support yourself? I do
have a letter from your wife by the way.

INMATE MACKEY: I have a couple of job
offers.

PRESIDING COMMISSIONER WELCH: You want to
tell us about them?

INMATE MACKEY: One is a place where my wife
works. It’s California Natural Products. I’d be
working in the warehouse, and The Cottage Bakery in
Lodi where I'd be driving a forklift.

PRESIDING COMMISSIONER WELCH: Okay. Any
other options?

INMATE MACKEY: The reason I took the

heating and air conditioning course is because it’s
NO

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highly, you know, ~~ There's a lot of jobs
available out there in that field.

PRESIDING COMMISSIONER WELCH: Okay.
Anything else you want to tell us about your
employment plans before I go to your letters? You
do have letters, and you do have some job offers
here. Okay. Then I’ll go to your letter. You
have a letter from Janet. Who is Janet?

INMATE MACKEY: My wife.

PRESIDING COMMISSIONER WELCH: Wife. Okay.
Janet Mackey. Is that correct?

INMATE MACKEY: Uh-hmm.

PRESIDING COMMISSIONER WELCH: And she
writes,

St would like to start by thanking

you for taking the time to read my

letter requesting the Board toa

release my husband James Mackey.

James and I have known gach other

since 1977 when James was only 12

years old. J saw James grow from a

young man to aman I fell in love

with and married 1l years ago. Our

relationship grows stronger every

year, and we look forward to spending

the rest of our lives together.

James has brought the best qualities
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1 Out in me, and we have become a very
2 strong Christian family. James is

3 very close to my two children, and

4 they love him very much. Our entire
5 family gives James the ‘support he

6 will need both financially and

7 emotionally when he comes home.

8 James did change everyone’s life

9 around him, but.not more than it

10 changed his life. It was devastating
11 and unbelievable that such a

12. wonderful, intelligent young man, and
13 someone who had the future in his

14 hands could actually commit the act
15 he did. No one is sorrier for his

16 acts than James and would turn back
17 the clock if a second chance -- if he
18 could. I feel and pray for the

19 victim’s family often. I know James
20 does and hope that they have it in

21 their hearts to forgive James. I
22: have met one person that doesn’t

23 think James is a -- I haven’t met one
24 person that doesn’t think James is a
25 wonderful person. He have impacted
26 his qualities on so many people. As

27 our home is still in town we grew up
Case 2:07-cv-00347-ALA Document 1-3, Filed 01/13/07 Page 11 of 50
1 in, so many people are looking

forward to nim coming back into the

No

3 community. vames was a4 college
4 graduate when he entered the prison
5 system, and James has continued his
6 education while in prison through
7 correspondence classes and, of
8 course, courses offered to inmates.
9 When James is released, he will
10 already be employed and be able to
il] contribute and support our family.
12 When James is released, he will
13 reside in our home, and that’s in
14 Manteca. I thank you so much for
15 taking the time to read my letter,
16 and I hope you find it in your hearts
17 to see James -- who James really is,
18 a best friend, a lover, a carrying
19 husband, a wonderful father, and a
20 friend to so many people. Please
21 feel free to call me if you have any
22 additional questions. Janet Mackey.”
23 That was from your wife. Lee Denaca?
24 INMATE MACKEY: Lana.
25 PRESIDING COMMISSIONER WELCH: Lana. Lana
26 Mackey, that’s L-A-N-A Mackey. She writes you a

27 very supportive letter. That's from your niece.
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1 And you have another support letter from Kenneth
Z2 Elkridge.

3 INMATE MACKEY: Eskridge.

4 PRESIDING COMMISSIONER WELCH:

E-S-K-R-I-D-G-E. That’s your brother?

cn

6 INMATE MACKEY: Yes, Sir.

7 PRESIDING COMMISSIONER WELCH: He writes you
8 a very supportive letter. He feels that you have

9 had the opportunity to find redempticn and redeem
10 your errors, and that he loves you very much and

11 he’s willing to support you. And he feels that you
12 would be a benefit to society. LT have another

13° letter from your father-in-law Clyde Waller. He

14 writes. you a very supportive letter. He says,

15 “My name is Clyde Waller, the father-

16 in-law of James Mackey. I understand

17 that James will be considered for

18 parole. i have known James since he

19 was in high school and can remember

20 watching him play football in Fast

21 Union High Scnool.”

22 He feels that you’ve been a model inmate, and that
23 you'll do good in the community and have a

24 bachelor’s degree in sports medicine from the

25 University Pacific in his opinion. I have a letter
26 here, I believe, from your former high school coach

27. Jim C. Brown. Mr. Brown writes,
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YT’ ve written this letter as former

teacher and high school football

coach during James’ high school days

and his friend since he graduated

from high school. I recently visited

James in Mule Creek State Prison. In

my opinion, James showed great

contrition for his past and made a

tremendous effort to rehabilitate and

grow as a human being while in

prison. IT feel confident James will

contribute -- will be a contributing

member to society if given the

opportunity. Had I not retired

recently and put my painter’s

contractor's license on inactive

status, I would offer James a job

myself. ft will offer my

recommendation for his employment to

anyone wno asks.”
He feels that you paid your debt to society.
Another letter here from Rebecca (indiscernible)
Williams. She was -- I guess her husband was
James’ -- her husband was Dr. Ronald Williams. I
guess he did some surgery on your shoulder, and
he’s known you. She writes you a very supportive

letter also. Hamilton L. Hintz, attorney at law.
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Ts that your ex-attorney?

INMATE MACKEY: Uh-hmm.

PRESIDING COMMISSIONER WELCH: Last name,

the way, is spelled H-I-N-T-Z. He says,

“T was the

attorney for Mr. Mackey in

San Joaquin County Court Case numbder

45624, in which he was sentenced to

state prison on or about November 20,

1990, for the term of 25 years to life

for the murder of Lawrence Carnegie

pursuant to a plea and sentence

agreement with the District Attorney

John Phillips. James cooperated with

the investigation and prosecution of

codefendant Michael Blatt, B-R-A-T-T

wt

[sic] --

INMATE MACKEY: “Eh.”

PRESIDING COMMISSIONER WELCH: B-L-A-T-T.

“-- and

witness

Alameda

testified as a prosecuting
in at least two trials in

County. I attended both

trials as an observer when James

testified and was a witness myself.

Both trials ended with a hung jury,

and the

case against Mr. Blatt was

eventually dismissed. Without James,

however,

his case would never have

by
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1 been filed, and the person most
2 culpable in Mr. Carnegie’s murder
3 would not have been exposed,
4 arrested, and prosecuted. The
5 agreement I negotiated on James’
6 behalf with John Phillips
7 specifically called for the
8 recommendation that Mr. Phillip [sic]
9 be released on parole upon having
10 served a minimum sentence for first-
11 degree murder. That is two-thirds of
12 the minimum sentence, 16 years, eight
13 months, provided that he was a good
14 prisoner. James’ minimum eligible
15 parole date is January 26°", 2006. He
16 has proved that he has been a good
~17 prisoner. His record, as 1
18 understand, contains only one Cbc. 11s
19 in 1996, and the incident was
20 described as most consistent with
21 horseplay. During James’ years at
22 Mule Creek he have taken many
23 courses, received numerous
24 certificates, and possibly saved
25 another inmate’s life. T visited
26 James in 2004, and over the past 18

27 months have exchanged letters with
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1 him. He appears to have done

2 everything within his power to better
3 himself, abide by the rules, and make
4 the best of a terrible situation.

5 Very few inmates serving an

6 indeterminate sentence get his

7 circumstances. I unequivocally and

8 respectfully urge that you give a

3 date now and that he be released on
10 ‘parole at the earliest possible time.
11 He is unique for a life prisoner for
12 the following reasons: He has no

13 past criminal history as a juvenile
14 or adult. His prison record is not
15 simply good, but excellent. As a

16 high school and college graduate, he
17 has the ability and opportunity for
18 employment and the intelligence and
19 motivation to make it on parole. He
20 is remorseful and accepts

21 responsipility and is accountable
22. both legally and morally for the

23 offense. Finally, James has the

24 recommendation of the elected

25 District Attorney of the county from
26 which he was committed and that he be

27 released on parole upon having served
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the minimum sentence provided that he
has been a good prisoner. John
Phillips wrote to the Board nearly 15
years ago. And without the
cooperation and the prospective
testimony of Mr. Mackey, charges
would not have been filed against

Michael Blatt, nor a prosecution

initiated. Thank you, Hamilton

Hintz.”
Okay. We have an Amanda Gomez. Ms. Gomez writes
you a letter. She said that you would be in need
of employment. She’s offering you employment with

California Natural Products, 11 dollars an hour,

she says, is the expected salary. And Cottage

Bakery,

another job offer. And this is

Mr. Haslebacker, that’s H-A-S-L-E-B-A-C-K-E-R. He

writes you a supportive letter. He says,

“Upon his release, I understand James
will be seeking employment. tT would
like to offer James the opportunity
for a Cottage Bakery -- at Cottage
Bakery as a warehouse forklift

driver. That would be 14 dollars an

hour.”
And this is (indiscernible). They have bakeries,
guess, in Lodi, Sacramento, and Stockton. Is that

1
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1 correct?

2 INMATE MACKEY: Yes, Sir.

3 PRESIDING COMMISSIONER WELCH: James

4 Mitchell, vice president, Creative Research.

5 “i have agreed to provide an

6 employment interview for James

7 Mackey. I do not promise employment

8 will occur. T have offered this

9 interview at the request of a friend

10 who knows Mackey.”

11 And I do have the letter the counselor submitted

12 from the District Attorney back in 1990. However,
13 the District Attorney is here, and he’s already

14 testified as to his county’s position on thea

15 prisoner’s parole.

16 ATTORNEY MONTGOMERY: Commissioner, there

17 were three others. They’re in a packet... There was
18 one --

19 PRESIDING COMMISSIONER WELCH: And I’m going
20 Lo get Lo those.

21 ATTORNEY. MONTGOMERY: Okay.

22 PRESIDING COMMISSIONER WELCH: IT was just

23 covéring the ones that you submitted. And there

24 are some additional one in your packet. Okay.

25 Charisse Mackey wrote you a very supportive letter,

26 and she’s writing this letter on behalf of her

27 uncle. And she noted that you have some very good
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childhood memories and that today at the age of 23
she still have not changed. After relocating to
Southern California she still receives letters,
birthday cards, and short stories from him via e-
mail. How do you send e-mails to her?

INMATE MACKEY: My wife does. I send them
to my wife, and --

PRESIDING COMMISSIONER WELCH: And then she

sends them to her. Okay. I didn’t think prisoners

INMATE MACKEY: No.

PRESIDING COMMISSIONER WELCH: Okay. So she
writes you a supportive letter. Looks like one
from Janet. Did I get Rebecca Williams?

INMATE MACKEY: Yes.

PRESIDING COMMISSIONER WELCH: Here’s one

that I’ve missed. Okay. Rebecca Williams writes
you a supportive letter. She’s writing in support

of your upcoming parole consideration hearing.
“James have been a close friend of our family for
many years. (Indiscernible) when I first saw him
as a patient.” I covered that one.

INMATE MACKEY: Yeah.

PRESIDING COMMISSIONER WELCH: Well, there’s
something else I wanted to say about this, sir.
Phat (inaudible). She said, “I wish that T was

able to offer (inaudible) surgery practice, but
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unfortunately my husband passed away suddenly in
1996. I feel he will be an asset, however,
wherever he has employment.” Vhat’s highlighted.
Did I miss any?

ATTORNEY MONTGOMERY: There was a letter
from a Criner, C-R-I-N-E-R, family.

PRESIDING COMMISSIONER WELCH: Yeah, I saw
that one.

ATTORNEY MONTGOMERY: And the sister-in-law
Robin Cordono.

PRESIDING COMMISSIONER WELCH: I have
(inaudible). The Criner family. Here it is.
Eric, Angela, Erica, and Angela, the Criner family.
They wrote you a very supportive letter.

“This letter is submitted on behalf

of James Mackey, and I’ve known

Mackey since 1969. I've always

thought that James would some day be

a real asset to his community. And I

feel James can love, respect, and

honor his fellow man and become a

productive citizen while in prison.

He had furthered his education.”

She talks about all the things that you’ve done in
prison. “And we look forward to seeing him soon.”
And the other one was from who now? James

Mitchell?
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ATTORNEY MONTGOMERY: Robin Cordono, the
sister-in-law. It’s handwritten.

PRESIDING COMMISSIONER WELCH:
(Indiscernibie).

ATTORNEY MONTGOMERY : Yes, that’s it.

PRESIDING COMMISSIONER WELCH: Okay. Robin
Cordono. And she’s known you for 24 years, and you
attended high school together. “When James went on
to college at UOP, 1 felt he would pursue a career
as a professional football player.” And she was
shocked and saddened when she discovered he was
sent to prison. Basically, she’s writing you a
supportive letter. She supports you
unconditionally, spiritually, and financially in
your preparation for the future. Did I cover them
all, Counsel?

ATTORNEY MONTGOMERY: I believe you did.
Thank you.

PRESIDING COMMISSIONER WELCH: Quite a few
support letters. Ouite a few job offers. And I
have most of the ones that you submitted already in
the file. Okay. Anything else about parole plans,
Counsel, before we move on to 3042 notices?

ATTORNEY MONTGOMERY: No, I think that you
have covered those. Thank you.

PRESIDING COMMISSIONER WELCH: Thank you.

Okay. We sent out notices pursuant to Penal Code
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1 3042. We sent those out to different agencies that
2 would have an interest in your case to include the
3 District Attorney’s office, the Attorney General's
4 effice, law enforcement agencies that had
5 jurisdiction, your attorney at the time. And I
6 should have read ycur attorney’s at the -- during
7 this portion, but I read it: as your support,
8 because your attorney did respond, and to the judge
9 that presided in your case, and we sent letters out
10 to victims. So in summary we received. .a letter
11 back from your attorney, and we received letters
12 from several victims. And at this time T’ 11 go
13 over the victims’ letters. And we have the
14 District Attorney here from San Joaquin County who
15 have opted not to participate in the hearing today.
16 But we did receive the letter and your documents.
17 Okay. Charles Shrewsbury wrote a letter, He says
18 -- And his last name is spelled

19 S-H-R-E-W-S-B-U-R~-Y. He writes a.letter. He says,

20 “T’'m writing this letter in regards
24 to the parole hearing of James

P22 | Mackey. He was convicted of

23 murdering Larry Carnegie, my brother-
24 in-law. Based on the circumstances
25 of this case and the severity of the
26 crime, ET would respectfully urge you

27 not to release Mr. Mackey from prison
Case 2:07-cv-00347-ALA Document 1-3, Filed 01/13/07

now or at any time in the future.

Mr. Mackey plotted to murder Larry
Carnegie in cold blood and
premeditated. This was not a crime
of passion, not an accident, nor a
mistake. This was nothing less than
murder in the first degree.

Mr. Mackey purchased a crossbow at a
sporting goods store for the sole
purpose of killing his victim. He
had ample time to consider and
carefully weigh the consequences of
his-actions. He made the choice,
which was a clear and unobstructed
thought process. James Mackey
ambushed Larry Carnegie, shooting him
in the back with a crossbow, stuffing
him into a trunk of a car, and later
strangling him. This Lie in wait not
only illustrates the clarity of
Mackey’s intent, but it also
underlines the cunning mindset of

Mr. Mackey and the outright prutality
of his crime. On that day,

Mr. Mackey clearly demonstrated his
own bitter disregard for human life.

When Mr. Mackey murdered Larry

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1 Carnegie, I lost a dear loving family
2 member and a friend. My sister lost
3 her husband. Even more devastating,
4 my three nieces lost their father

5 forever. Mr. Mackey brutaily and

6 clearly, intentionaliy -- intentional
7 crime has devastated our family

3 deeply, cragging down to emotional

9 depth of grief, loss, and despair.

10 The destruction which Mr. Mackey

11 wreaked upon our lives can never be
12 undone. The three little children

13 was robbed of their father, their

14 loving father, I should say, by

15 Mr. Mackey’s savage and inhumane

16. action. To set free such a dangerous
17 and violent criminal would be an

18 outrage of justice. It would not be
19 fair to the victim, Larry Carnegie.
20 Tt would not be fair to Larry’s wife,
21 his daughters, family, or his
22 friends. And further, it would not
23 be fair to American public to have
24 such a dangerous murderer throughout
25 our midst. Please do not give
26 Mr. Mackey the opportunity to kill

27 once again. The facts of this case
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1 clearly and painfully demonstrate the

2 (indiscernible) savagery of which

3 Mr. Mackey is capable of. In the

4 interest of justice and safety for

5 our community, I respectfully request

6 that you do not release James Mackey

7 from prison now or at any time in the

3 future.”

9 We have another letter here from Parents of

10 Murdered Children Incorporated. And it have just
11 an array of signatures on it, and it says, “We the
12 undersigned strongly oppose the parole of James
13 Mackey. Justice demands he serve the full prison
14 term given to him at the time he was sentenced.”
15 Another letter here from Parents of Murdered

16 Children. “Enclosed is a copy of the hearing for
17 James Mackey who was one of the killers in the

18 crime.” Okay. And here’s the attachment. This
19 letter is from Vince J. Carnegie, brother of

0 Lawrence Jaseph Carnegie. It says,

21 “br am the youngest brother of

22 Lawrence Carnegie who was murderea by

23 James Mackey and Carl Hancock. They

24 claim they never knew my brother, and

25 they did it as a murder for hire.
26 Their guilt is undeniable by the

27 evidence, and they confessed to the
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1 first-degree murder. In case you are
2. not familiar with the details of the
3 murder, IT will inform you my brother,
4 devoted husband, father of three
25 children under five years old at the
© time, was set up for murder in a cold
7 blooded, calculated way. The murder
8B scheme was in the works for many
9 weeks. In fact, the murderer set my
10 brother up for weeks in advance by
11 befriending him and pretending to be
12 ‘interested in buying real estate.
13 They knew that he had children and a
14 wife, and he talked of them all the
15 time. They lured him to a remote
16 location and shot him in the back
17 with a bow and deadly arrow.
18 . Unfortunately, they were not inept.
19 He did not -- Unfortunately, they
20 were so inept, he did not die and
21 tried to fight for his life. They
22 stuffed him a sleeping bag and threw
23 him in the back of a trunk of a car.
24 They drove him for three hours to a
25 remote mountain road as he struggled
26 for life, profusely bleeding to

27 death. After three hours of
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bleeding, they opened the trunk and
realized that he was still alive.
Being the smart guys that they are,
they took a piece of rope and
strangled him to finish off the kill.
They then dumped is body over the
road bank. What a ilovely story.

It’s the story my family and I get to
live with every day of our lives.
It’s the story I never told his
teenage daughters. It’s the story I
will never tell my children who will
never gee to meet my brother and
their uncle. It’s always been the
story they told to tne orosecuting

attorney when they were granted a

plea bargain agreement for their

testimony against the guy who
supposedly hired them to do the
murder. After two years of court
cases, of which I spent hundreds of
hours, agonizing hours, their story.
of murder for hire was not good
enough to convict the supposedly
point man. How will we ever know the

truth of it. Tt seemed to me that if

their testimony could not convict the

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1 point man, maybe there never was a

z point man. Maybe the murder was just

CO

for fun. Maybe they did it for

4 (indiscernible). Maybe they made up

uw

che story to save themselves from

6 deatn row. Maybe. Maybe. Maybe.

7 The murder facts are clear and

8 calculated and shows premeditation

9 over a long period of time, plenty of
10 time to realize that the heinous

11 crime against my family and society
12 as a whole is wrong, plenty of time
13 to realize not to do it. They chose
14 to murder of their own free will. No
15 amount of rehabilitation will change
16 their willingness to commit murder so
1? easy and so calculating. The

18 ' physical and paper trail evidence

19 against them was overwhelming. Now
20 they want to be released after 16

21 years, merely 16 years. Why. Why.
22 For that purpose to go kill some more
23 folks, to live a normal life, to

24 enjoy the free life, to stop their
25 suffering in jail. They lost their
26 right with the cold-blooded murder of

27 my brother. They should be on death
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row, and they definitely should stay

in prison. My brother is rotting in
his. grave. They have no right to
freedom. They lost that when they
murdered my brother. Io could go on

and on and on of all cf the lives
dramatically effected by the loss of
my brother. Literally hundreds of
family members from states like
California, Oregon, Washington, Ohio,
Pennsylvania, Arizona, numerous
friends. and business associates,

church activities, community

volunteers, Christmas, Easter,

Thanksgiving, July 4°", Carmel
vacation, Lake Tahoe ski trips, water
skiing on the Stockton delta,
whitewater rafting, family vacation,
Hawaii trips, shopping in San
Francisco, sports fishing in Baja,
family life raising kids, three
beautiful daughters growing up
without their father, explaining to a
five year old why daddy is not coming
home, watching my 67-year-old father
and 66-year-old mother crying for

this time in their life. I was 29
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1 years old when the murder occurred.

2 I need to go on. Tne damage done by
3 this murder is overwhelming. Sixteen
4 years in prison for a cold-blooded,

5 calculated, premeditated murder is a
6 joke. Their premeditated murder

7 caused immense pain and damage to our
8 family members. Our only solace is

9 knowing they are in prison. We are
LO (indiscernible) to Let them out of

11 prison. They should never be set

12 free. Protect the freedom of

13 upstanding citizens of the state of
140 California. Give justice to the

15 family, which the court and

16 prosecuting attorney failed to do.

17 The facts are indisputable. He

18 murdered my brother by premeditated
19 lying in wait. Let our family have
20 some measure of peace. Keep him in
21 jail. Respectfully, Vince Carnegie.”
22 I think I covered all the 3042 notices. And with
23 that --

24 , Thereupon, the tape was changed. |
25 DEPUTY COMMISSTONER DININNI: We’ re back on

26 the record. Did you get a copy of Bruce G. Troy,

27 D.S.°?
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PRESIDING COMMISSIONER WELCH: yes, T’il

2 read it. Thank you. And this is a letter of
3 opposition from Bruce G. Troy, D.S., writing in
4 regards to parole of James Mackey.

5 ST feel that Mr. Mackey should not

6 have earned parole since he has no

7 regard for the life and suffering of

8 my friend Larry. warry was a father

9 of three small daughters who have

10 been robbed of their father. Unlike
11 Mr. Mackey who will be released from
12 prison and be able to resume his

13 life, they will never have their

14 father again. Mr. Mackey has not

15 taken responsibility for the brutal

16 murder. He. blamed the other people

17 anvolved. He has shown no remorse.

18 Mr. Mackey thinks Larry's friends and
19 family should just forget Lt

20 happened. We will never forget Larry
21 or the hardships on his family.

22 Please do not give James Mackey an

23 earlier parole. Larry will never be
24 given the chance to see his daughter
25 grow up and enjoy the life he should
26 have had. Bruce Troy, D.Ss.”

27 DEPUTY COMMISSIONER DININNI: And since
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1 we’re considering November 20, 1990, John Phillips,
2 District Attorney letter. I’d like to note

3 November 7°", 1994, California legislature, D. Neff
4 and Dahl (phonetic), assemblymen, seventeenth

5 Gistrict, current assemblymen representing San

6 Joaquin County.

7 “I wish to register my strong

8 opposition of granting parole to

9 Inmate James Oliver Mackey who’s

10 currently serving a life tern. This
Li inmate will be eligible for parole

12 here in December 2004. Represents

13 . substantial risk to people of my

14 community. I strongly believe that
15 public safety concerns and the nature
16 of this inmate’s crime demand that he
17 continue to be incarcerated. Please
18 note the Stockton and the rest of San
19 Joaquin County suffered

20 (indiscernible) violent crime rate.
21 And this inmate’s release would be
22 likely to aggravate these conditions
23 . further. Please place this letter in
24 your files for review by BPT when
25 parole is considered for this inmate.
26 Sincerely, D. Neff and Dahl.”

27 ATTORNEY MONTGOMERY: I appreciate your
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reading that into the record. I have no idea why
that would have been put in confidential.

DEPUTY COMMISSIONER DININNI: Not with this
type of letterhead.

ATTORNEY MONTGOMERY: No.

DEPUTY COMMISSIONER DININNI: Mr. Phillip’s

letter is in confidential based on the testimony in

trial. That’s noted. It’s not confidential to
Mr. Mackey. It’s just confidential. Don’t want it
floating around. So that’s understandable. But

this one, I don’t understand.

PRESIDING COMMISSIONER WELCH: Any others?

DEPUTY COMMISSIONER DININNI: There’s
approximately 13 opposition letters noted here.

And I believe they’re only here for addresses.

PRESIDING COMMISSIONER WELCH: And we will
consider those during deliberation. And with that,
Commissioner, do you have any questions?

DEPUTY COMMISSIONER DININNI: T’d like to
note that several of these letters are duplicate to
the one’s he read on the record. so it’s not
necessarily an additional 13.

PRESIDING COMMISSIONER WELCH: Okay.
Anything else?

DEPUTY COMMISSIONER DININNI: No questions.

PRESIDING COMMISSIONER WELCH: District

Attorney, do you want. your turn back?
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DEPUTY DISTRICT ATTORNEY BLANSETT:

Actually, I am interested in just one thing. I’ve
néver seen a copy of John Phillips’ letter. He
didn’t give mé a copy at the time he wrote it. And

I was kind of hoping that there would be a copy in
the material I got, and there was no copy there
either.

PRESIDING COMMISSIONER WELCH: We can give
you a copy. Anything else?

DEPUTY DISTRICT ATTORNEY BLANSETT: No,
that’s it. As I’ve indicated to the Board before,
my job here is merely to be a representative of the
DA’s office. John Phillips is no longer the DA.
But the current DA gave me authorization to attend.

PRESIDING COMMISSIONER WELCH: Okay. The
officer will make copies and give you a copy.

DEPUTY DISTRICT ATTORNEY BLANSETT: Thank

you.
PRESIDING COMMISSIONER WELCH: You’ re

welcome, sir. And with that, we’ll go to questions

with Counsel. Counsel, do you have any questions

for your client?

ATTORNEY MONTGOMERY : Yes, I do. Thank you,
Commissioner. You provided the counselor with your
version of the commitment offense. Was that in
response to the counselor saying write down what

happened?
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INMATE MACKEY: Yes.

ATTORNEY MONTGOMERY: Regardless of the
circumstances, you indicated that you alone are
responsible for this. Is that correct?

INMATE MACKEY: Yes, it is.

ATTORNEY MONTGOMERY: Do you still accept
responsibility?

INMATE MACKEY: I do.

ATTORNEY MONTGOMERY: The Commissioner was
asking you how you can connect some of the problems
that you’ve uncovered dealing with your past when
you were a child. Isn’t it true that in those
self-help programs they indicate to you that you
need to examine your past to determine how you got
to where you ultimately took a life.

INMATE MACKEY: True.

ATTORNEY MONTGOMERY: Have those programs
been helpful to you?

INMATE MACKEY: Definitely.

ATTORNEY MONTGOMERY: Did the psychologist
indicate to you why she didn’t want to have a
discussion with you about those particular
programs?

INMATE MACKEY: No, not to my knowledge.
She didn’t say anything at all about that.

ATTORNEY MONTGOMERY: Okay. Thank you. T

don’t have any further questions.
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1 PRESIDING COMMISSIONER WELCH: You know, you
2 just reminded -- TI wrote myself a note here to ask
3 you client a question, You can have your turn

4 back. When my colleague went over your

5 psychological evaluation, on a scale of low,

6 medium, and high, she rated you as a medium risk to.
7 society, which is still somewhere in the. middle.

8 Do you have any comments on that? How do you see
9 yourself?

10 INMATE MACKEY: I don’t see myself as --

11 because T’7m. so aware of how to get into this

12 Situations now that my -- I don’t see how it’d be
13 moderate.

14 PRESIDING COMMISSIONER WELCH: When you say
15 you’ re aware of how you get into these situations,
16 what are you referring to?

17 INMATE MACKEY: How I got into the

18 situation. How other -- you know, other inmates
19 around me, how they, you know, get into these
20 things. There are ways to avoid, you know, crimes
21 like these. And like this, just taking a look at
22, yourself and thinking about what you're doing,

23 considering the consequences.
24 PRESIDING COMMISSIONER WELCH: Okay. All
25 right. Counsel, you want your turn back?
26 ATTORNEY MONTGOMERY : Can you think of one

27 particular program that was more helpful than
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others in your self-help programs?

INMATE MACKEY: Basically the first one.
Well, not the first one, but the. Framework For
Recovery. + went in there thinking that, you know,
there’s a lot of guys in there that were drug
addicts and.alcoholics. And 7 had nothing in
common with these people. And I didn’t know what I
could get out of that, just kind of like sitting
there. But what I got from it is just about taking
a look at yourself, learning, you know, to examine
yourself and taking responsibility for your
actions, you know, just every little thing, because

that’s how things Like alcohol and drugs sneak up

on you, if you’ re not paying attention. And that
was a main:'-- the main thing. Once you start
there, (inaudible) you know, once you start taking

a took at yourself, anything's possible.

ATTORNEY MONTGOMERY: You also took an anger
management course. Was that beneficial? Did you
learn a lot of things about the techniques and
identifying anger?

INMATE MACKEY: Just stop and considering
what. you're doing, you know, just taking a second
to stop, walking away, and thinking about the
consequences.

ATTORNEY MONTGOMERY: Okay. I don’t have

any further questions. Thank you, Commissioner.
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1 PRESIDING COMMISSIONER WELCH: Okay. Thank
2 you. And since the District Attorney is not

3 participating, we’li go to you for a closing

4 statement.

5 ‘ ATTORNEY MONTGOMERY: Thank you,

6 Commissioner. As I mentioned earlier, I would ask
7 the Panel to consider that the psycholcgical

8 evaluation is based in part on the statement that

9 - my client gave to’the correctional counselor in

10 . response to the instruction, please write it down.
id This is exactly what he did. He wrote to the

12 psychologist indicating that his detailed

13 description and the interview were the result of

14 his wanting to convey to her the fact that he had,
15 in fact, examined the reasons behind the commitment
16 offense, his actions, and how those events

17 contributed to his thinking and behavior up to and
18 in the commitment offense. Briefly I want to hit
19 on the self-nelp programs, because I know you were
20 concerned about that. You’re unable to -~ or

21 perhaps my client wasn’t perfectly clear in

22 attempting to convey to you that in the self-help
23 groups what they do is they examine, or they assist
24 you in examining your past to make a determination
25 why you behave the way you did in the commitment

26 offense. And it’s a step-by-step process. And the

27 anger management class, and the Framework For
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Recovery is pretty much the same. You've got to go
back. You’ve got to peel away the layers to arrive
at some conclusions and some answers. And while it

is IT think human nature for us to want a response
to the question why, there will never be a raticnal
explanation for what was an irrational act.
Accerding to Title 15, the Board, of course, is
required to consider a number of things. And
certainly my client’s performance in prison is. a
consideration that you will take into
consideration. IT went back, and I looked at the
documentation references by the Deputy
Commissioner. Tt was pretty benign. I saw that
they recommended that Mr. Mackey participate in
some self-help as it became available, and that he
upgrade ina vocational program as needed. But I
think. it was abundantly clear that my client went
beyond ~- well beyond that in many ways. And I)
think that this Panel would agree that his efforts
are significant, particularly at this point in
time. This is his initial hearing. Many people do
not come to the table with this much under their
belt at this time. One of the areas that I look
for when I have a client who has committed a
homicide, I take a look at what they’ve done in
terms of giving back. And think the Panel probably

does as well, in addition to the other things that
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Title 15 requires you to consider. I was not
disappointed in the least. Laubach tutoring
clearly is a program once somebody is trained and
skilled in that area, it affords them a wonderful
opportunity to give back to some pretty needy
people within the institution in terms of helping
them to strengthen their language skills, their
writing skills. My client helped people, and he
continues on an informal basis to do that as well.
You read the chrono .-- Thank you, Commissioner
DiNinni, about the inmate that fell in the shower
and was covered in blood. That particular chrono
dealt very specifically with that incident, and it
provided that my client’s alertness and his
diligence possibility saved this man’s life. I
would have expected that Mr. Mackey would have
delved into the whys as they pertain to this crime.
And I was not disappointed. [I’ve had an
opportunity to sit down with this man and talk
about what he has gotten out of the various
programs. There were a lot to cover today, and
there weren’t a iot of questions asked about then,
but he certainly has an abundance of programs.
That included six months of AA, the Framework For
Recovery. That was a i2-session program.
Understanding your feelings, 15 sessions, House of

Healing program. That includes anger management
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and improving coping skills, dealing effectively
also with shame, guilt, and forgiveness. He’s
graduated from the Tier One, the Tier Two program,
Great Truths of the Bible, completed communication
styles and skills, Four Agreements, a personal
development course in ‘Ol, and advanced parenting
in ‘’02. Also Taking the Limits Off Life, that was
a 12-week program and one that I’m not particularly
familiar with. But I am familiar with one that
followed, which was a 17-week program called
Supernatural Ministries, and a 15-week course
called Breaking the Cycle. Many of those, of
course, were spiritual in nature and overseen by
Pastor Barnham. The most recent group, Purpose
Drive Life, and that was a 42-hour session program,
pretty extensive. I asked Mr. Mackey about his
involvement in these particular programs, and I
came away with the sense that this is somebody that
entered these programs honestly and wanted to learn
about himself. He shared some revealing thoughts
about himself as a result of his participation in

these groups, too, and T’'d like to share some of

those with you. In the Framework For Recovery
program he called that an eye opener. It forced
him to ask very painful guestions of himself. The

parenting program helped him to examine his own

life and how his upbringing shaped his future.
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1 This is what he was sharing with you earlier. He

2 recognized that while he and his siblings were

3 never encouraged tO open up, obviously the

4 consequences can be very, very harmful as emotions
5 are bottled up and is never dealt with or worked

6 through. Tn the anger management program, he

} learned that some of his own anger was actually

8 directed at himself. He learned of new techniques
9 of addressing anger and facing it so that it does
10 not go unaddressed and it does not become

11 unmanageable. From his involvement in these

12 programs, he has learned to open up and

13 communicate. It has also shown him the need to

14 contemplate the consequences of his actions and to
15 ask himself who would be effected by each and every
16 decision that he makes. As you know, academically,
17 my client has a bachelor’s degree. He has

18 continued to pursue his education. We have the

193 paralegal course that he completed in ’04. I don’t
20 recall if you did mention this, Commissioner

21 DiNinni, but in January of this year, he also began
22 to work towards a graduate degree in humanities.
23 The Domingas Hills College offers a wonderful
24 correspondence program that a lot of the lifers

25 have taken advantage of. He’s holding a clerks
26 position, and you’ve heard me say this before, but

27 clearly those individuals that are assigned clerk
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positions are given that assignment because of the
fact that they’ve proven themselves to be reliable
and dependable within the institution. They’re
provided, or exposed rather to a lot of sensitive
information, and not just anybody can take on such
a position. He’s been acknowledged by staff. for
efforts that demonstrate that he goes the extra
mile in his assignment. The recreation therapist
provided that his efforts at designing and
implementing a new system for the tracking of the
EOP inmates, which has proven to be a difficult
thing here, was all done while he was conducting
his regular job duties. They also indicate that
that has made him an asset to the mental health
program. She believes that he would also be an
asset to the community when he paroles. In terns
of disciplinaries, the Board has discussed the one
in the file. The author of that 115 indicated that
the conduct was, in fact, consistent with

horseplay, and that’s exactly what they received

the write-up for. I would add for the record this
was an administrative 115. This is clearly an
exceptional record and one that -- I’m always

pleased to represent a client when they can come to
the Board without any 115s, without any 128s. He's
been able to provide me with what I believe is a

good record. The psychologist this year indicates
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that he is a high functioning individual in this
setting. She also notes that there’s other
Significant criteria that the Board examines in
assessing suitability, no juvenile record and no
substance abuse history. That’s huge, because
probably 90 percent of the cases before you, that’s
exactly what you see in terms of histories. I do
take issue with the psychological evaluation that
was prepared by Dr. Mahoney. And I’11 tell you
why. While she does offer there’s no diagnosis
under Axis IT or ITI, that’s certainly favorable, as
well as the Global Assessment of Functioning. But
she takes issue with my client’s version of the
commitment offense. And I take issue with her
conclusions. She provides that he poses a moderate
risk if he is released and relies upon his
statement for a basis of that conclusion. IT would
expect that a psychologist would acknowledge, or at
least enquire of my client’s efforts that are
encouraged in the self-help and therapy groups when
it comes to facing and delving into one’s past to
help determine the reason behind one’s conduct in
the commitment offense. I saw absolutely no
reference to those efforts, other than a benign
list of his accomplishments. Granted, there are
many. But without outlining them or discussing

them, she offers little. Instead, she indicates
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the he poses a moderate risk if he is released, and
her belief that he displays an inability to take
full responsibility for the crime. ' Those
conclusions do not have a foundation. And IT would
ask the Board to consider that she knew that

Mr. Mackey had turned himself in to the
authorities. That’s in the file. She apparently
gave no weight to the fact that he accepted a plea
and cooperated immensely with the authorities in a
separate prosecution that was associated with his
case. And also missing from her report, which I
think is very telling, is reference to the
Probation Report where on page eight it is stated
that Mackey believes he is to blame for Lawrence
Carnegie’s death, and that he believes he was a
catalyst for this murder. If Dr. Mahoney believes
that a true risk existed, I find it particularly
odd that she specificaily stated she had no
treatment recommendations for Mr. Mackey. I found
it also troublesome that she had the previous
report before her, dates back to 1993. Dr. Martin
prepared that. He concluded that my client was
somewhat vague about the causative factors of his
commitment offense. But since that particular
report, my client has completed no less than 12
different programs, which focused on addressing

causative factors. They’ve been huge. These
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programs had been huge in his life. And yet none
were discussed with him by Dr. Mahoney to ascertain
what he might have acquired. This report is the
exact kind of cénclusicn that you have been
encouraged to disregard by the (indiscernible) task
force. And instead you are urged to consider the
other reliable information before you in arriving
at your decision. Finally, the parole plans, 1
don’t think I could have presented better parole
plans, a piace to live in San Joaguin County, as
well as two job offers. While he has training for
refrigeration and air conditioning, which by the
way he completed that trade at his first hearing,
his initial, many people don’t often get a job
offer in the area that they’re skilled. Stall he
has two iob offers. He has people that have
written on his behalf, and there's a strong
indication that these people will continue to
assist him in his transition in the community. In
closing, Mr. Mackey was offered a plea by the
District Attorney of San Joaquin County. It was
accepted by Mr. Mackey, and it was accepted by the
court. Mr. Mackey would have proceeded to trial if
this plea agreement had not been offered. And the
plea in no uncertain terms provides that the DA
recommends that the Board release Mr. Mackey at the

earliest possible time upon having served the
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minimum sentence for first-degree murder. The MEPD
has been established at January 29°° of '06. This

contract, which was signed by the District

Attorney, Jonn Phillips, and signed by Mr. Mackey

and his counsel was also acknowledged by the
Board’s then executive officer. While this
particular hearing is administrative in nature, it
is also a continuation of the criminal process.
And as such 2 am respectfully requesting this Panel
to honor that agreement and sect a release date at
this time. And with that If will submit.

PRESIDING COMMISSIONER WELCH: Thank you for
your comments, Ms. Montgomery. At this time,
Mr. Mackey, you can make a closing statement, or
you can let your attorney’s statement be your
closing statement.

INMATE MACKEY: I’1l let her statement be my
closing statement.

PRESIDING COMMISSTONER WELCH: Okay. Then
we'll go to victim impact statements.

DEPUTY DISTRICT ATTORNEY BLANSETT:
Mr. Commissioner, if I may just for a moment, I’m
not going to make any statement whatsoever contrary
to the negotiations that were reached between
Mr. Hintz and Mr. Phillips, but there are some
misrepresentation. And I’m sure it’s based upon

the stated facts as Counsel understands it that
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1 have been made to this Board that I think are very
2 important. One is that this was not a contract

3 that was meant to bind in any way any commission

4 regarding how they saw Mr. Mackey and --

5 PRESIDING COMMISSIONER WELCH: And. we

6 thoroughly understand that.

7 DEPUTY DISTRICT ATTORNEY BLANSETT: Pardon?

8 PRESTDING COMMISSIONER WELCH: We thoroughly
9 understand that.
10 DEPUTY DISTRICT ATTORNEY BLANSETT: Okay.

11 PRESIDING COMMISSIONER WELCH: The District

12 Attorney cannot bound the Board.

13 DEPUTY DISTRICT ATTORNEY BLANSETT: And that
14 never, never the intent of tne negotiations to bind
15 --

16 PRESIDING COMMISSIONER WELCH: We understand
17 that.

18 DEPUTY DISTRICT ATTORNEY BLANSETT: The

19 other thing that Counsel made reference to, and

20 that is that Mr. Mackey turned himself in. That

21 ‘was not the stated facts.

22 PRESIDING COMMISSIONER WELCH: Now we’re

23 getting into an area where -- Hold on Counsel.

24 We’ re getting into an area -- normally if the

25 District Attorney is going to make comments, it’s
26 before Counsel speaks. And then afterward Counsel

27 can address any issues that she might address.
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DEPUTY DISTRICT ATTORNEY BLANSETT: I agree
with the Commissioner. The only reason I spoke up
was because what 1 perceived to be information
being presented to the Commission that was not the
true stated offense.

PRESIDING COMMISSIONER WELCH: Well, let me
ask you this.

DEPUTY DISTRICT ATTORNEY BLANSETT: Yeah.

PRESIDING COMMISSIONER WELCH: Do you want
to make a closing statement?

DEPUTY DISTRICT ATTORNEY BLANSETT: Not
contrary to the negations that were made in the
case.

PRESIDING COMMISSIONER WELCH: Let's do
this. [I’ll let you speak, and I’1li give Counsel
her turn back.

DEPUTY DISTRICT ATTORNEY BLANSETT: That’d
be fine.

PRESIDING COMMISSIONER WELCH: Okay.

DEPUTY DISTRICT ATTORNEY BLANSETT?: Ther

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were -- Actually, the three important areas, I’ve
covered one, and the Commissioner appears ko
understand the state of the negotiations. In
regards to Mr. Mackey, Mr. Mackey did not turn
himself in to authorities in the sense that he
found out they were investigating hin, and

therefore, turned himself in. He actually was
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brought in for questioning. He made a statement,
initial statement that implicated himself in the
murder as an accessory, which used to be called an
accessory before the fact. Now it’s a principle in
the commission of the murder, but denied any
involvement in the actual murder. Mr. Mackey then
agreed to cooperate with law enforcement. And
having a wire attached to his body, he went in to
Mr. Blatt’s office with the idea that he was going

to get Mr. Blatt to implicate himself in the

murder. But what Mr. Mackey did, unfortunately,

was to alert Mr. Blatt to the fact that he was
wired, which caused Mr. Blatt then not to implicate
himself, plus not to implicate Mr. Mackey any
further than Mr. Mackey had already implicated
himself. Mr. Mackey at that point then after he
did that, went to a local attorney, Bud Marks, who
then called me up and said that Mr. Mackey now
wanted to turn Aimself back in and cooperate fully
with us. And at that point, Mr. Mackey then was
taken into custody. So in that sense, he did turn
himself in at that point, but that didn’t consider
the activities that occurred before that time.

PRESIDING COMMISSIONER WELCH: Okay.

DEPUTY DISTRICT ATTORNEY BLANSETT: The
otner issue, which to me is an important one in

terms of correcting the facts, and I would say
